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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                            No. 14-441V
                                        Filed: April 8, 2014

* * * * * * * * * * * * * * * *                                UNPUBLISHED
LESLIE C. POTTS, JR.,         *
                              *                                Special Master Gowen
            Petitioner,       *
                              *                                Joint Stipulation on Damages;
v.                            *                                Tetanus-diptheria-acellular pertussis
                              *                                vaccine; Brachial Neuropathy.
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
            Respondent.       *
                              *
* * * * * * * * * * * * * * * *

Lawrence G. Michel, Kennedy, Berkley, et. al., Salina, KS, for petitioner.
Ryan D. Pyles, United States Department of Justice, Washington, DC, for respondent.

                            DECISION ON JOINT STIPULATION1

        On May 22, 2014, Leslie C. Potts, Jr. (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner alleged
that as a result of receiving a tetanus-diptheria-acellular pertussis (“Tdap”) vaccine on March 16,
2012, he developed brachial neuritis. Stipulation ¶ 2, 4. Further, petitioner alleged that he
experienced residual effects of his injury for more than six months. Id. at ¶ 4.

       On April 8, 2015, the parties filed a stipulation in which they state that a decision should

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat.
2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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be entered awarding compensation. Respondent denies that the Tdap vaccination caused
petitioner’s brachial neuritis or any other injury. Id. at ¶ 6. Nevertheless, the parties agree to the
joint stipulation, attached hereto as Appendix A. The undersigned finds the stipulation reasonable
and adopts it as the decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $90,000.00, in the form of a check payable to petitioner, Leslie C. Potts,
       Jr. This amount represents compensation for all damages that would be available
       under 42 U.S.C. § 300aa-15(a).

       Id. at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         The clerk of the court SHALL ENTER JUDGMENT in accordance with the terms of
the parties’ stipulation.3

       IT IS SO ORDERED.

                                               s/ Thomas L. Gowen
                                               Thomas L. Gowen
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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